Exhibit

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United States
Department of
Agriculture

Office of the
Assistant Secretary
for Civil Rights

Center for Civil
Rights Enforcement

Program
Complaints
Division

1400 Independence
Avenue SW

Washington, DC
20250

Case 3:23-cv-00340

USDA
OLA

Electronic Delivery:
cowtownfoundation@gmail.com

February 15, 2024

Mr. Corey Lea
Post Office Box 422
Arrington, Tennessee 37014
RE: Complaint Number: 2024-01-00015519

Dear Mr. Lea:

On January 30, 2024, the United States Department of Agriculture (USDA), Office of
the Assistant Secretary for Civil Rights (OASCR), Center for Civil Rights
Enforcement (CCRE), Program Complaints Division, Intake, received your complaint
dated the same date alleging discrimination in a program administered by USDA. This
office is responsible for processing administrative complaints alleging discrimination
in a program conducted by or receiving Federal financial assistance from USDA.

We have determined CCRE has jurisdiction over your administrative complaint. Your
administrative complaint was accepted for processing. The accepted allegation is:

Whether on January 29, 2024, Farm Service Agency officials discriminated
against you based on your race when they denied your request for a Farm
Ownership Loan.

If you do not agree with the defined claim(s) of your acceptance, you must provide us
with sufficient reasons, in writing, within seven (7) calendar days of receipt of this
letter. The statement should be sent to the following address, fax, or email:

Anita Petty, Program Intake Division
Center for Civil Rights Enforcement
United States Department of Agriculture
1400 Independence Avenue, SW
Stop Code: 9410
Washington, DC 20250
FAX: 833-256-1665
or
E-mail: ProgramComplaints(@usda.gov

Please be advised that at any stage of the program complaint process you wish to
voluntarily withdraw your complaint, you must promptly provide written notification
of your desire to do so. The withdrawal notice must be signed, dated, and contain the
USDA complaint number.

USDA IS AN EQUAL OPPORTUNITY PROVIDER, EMPLOYER AND LENDER

Filed 03/13/24

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